899 F.2d 1268
    283 U.S.App.D.C. 283
    Unpublished DispositionNOTICE: D.C. Circuit Local Rule 11(c) states that unpublished orders, judgments, and explanatory memoranda may not be cited as precedents, but counsel may refer to unpublished dispositions when the binding or preclusive effect of the disposition, rather than its quality as precedent, is relevant.TELESTAR, INC., Appellant,v.FEDERAL COMMUNICATIONS COMMISSION, Appellee,Western Tele-Communications, Inc., Intervenor.
    No. 88-1834.
    United States Court of Appeals, District of Columbia Circuit.
    April 19, 1990.
    
      Before MIKVA, BUCKLEY and D.H. GINSBURG, Circuit Judges.
      JUDGMENT
      PER CURIAM.
    
    
      1
      This case was considered on the record on appeal from the Federal Communications Commission (FCC) and on the briefs filed by the parties.  The court has determined that the issues presented occasion no need for a published opinion.  See D.C.Cir. Rule 14(c).  It is
    
    
      2
      ORDERED AND ADJUDGED that the appeal be dismissed for lack of standing.  Appellant has not demonstrated an injury fairly traceable to the FCC's allegedly illegal conduct and likely to be redressed by the relief requested.   See, e.g., Allen v. Wright, 468 U.S. 737, 751 (1984);  Orange Park Florida T.V., Inc. v. FCC, 811 F.2d 664, 673 (D.C.Cir.1987).  Even if this court were to reverse the FCC order under review, and require a revocation of intervenor Western Tele-Communications, Inc.'s operating authority, appellant is not presently a competitor in the field of communications services or even a potential competitor.  Appellant has been denied an FCC license, in a decision affirmed by this court, see TeleSTAR, Inc. v. FCC, Nos. 88-1420 et al.  (D.C.Cir. Sept. 22, 1989), reh'g denied (D.C.Cir. Nov. 27, 1989), and the likelihood that it would be eligible for a license in the near future is far from certain.
    
    
      3
      The Clerk is directed to withhold issuance of the mandate herein until seven days after disposition of any timely petition for rehearing.  See D.C.Cir. Rule 15.
    
    